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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


NorthStar Business Enterprises, LLC, et al.,     Case No. 24-cv-3492 (NEB/DTS)

       Plaintiffs/Counter Defendants,
                                                 ORDER
v.

Sharon Nelson,

       Defendant/Counter Claimant.


       Plaintiffs and Counter Defendants NorthStar Business Enterprises, LLC and

L. Londell McMillan move to continue sealing Plaintiffs’ Amended Complaint, Plaintiffs

and Counterclaim Defendants’ Answer to Counterclaims, and Exhibits 8 and 9 to Plaintiffs

and Counterclaim Defendants’ Answer to Counterclaims. Dkt. No. 32. Based on the file,

records, and proceedings;

       IT IS HEREBY ORDERED: Defendant and Counter Claimant shall file her

response, if any, within 7 days of the issuance of this order.




Dated: November 27, 2024                         ____s/David T. Schultz_____
                                                 DAVID T. SCHULTZ
                                                 U.S. Magistrate Judge
